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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                        )
In re:                                  )                         Chapter 11
                                        )
CENTER CITY HEALTHCARE, LLC d/b/a       )
HAHNEMANN UNIVERSITY HOSPITAL, et al., )
                                      1                           Case No. 19-11466 (MFW)
                                        )
                    Debtors.            )                         Jointly Administered
                                        )
                                        )                         Related to Docket Nos. 4898, 4900, 4932 and 4934


         ORDER SUSTAINING DEBTORS’ THIRTEENTH OMNIBUS OBJECTION
         TO CLAIMS (SUBSTANTIVE) PURSUANT TO SECTIONS 502(b) AND 503
                OF THE BANKRUPTCY CODE, BANKRUPTCY RULES
                   3001, 3003, AND 3007, AND LOCAL RULE 3007-1

         Upon consideration of the Debtors’ Thirteenth Omnibus Objection to Claims (Substantive)

  Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and

  3007, and Local Rule 3007-1 (the “Objection”),2 by which the Debtors request the entry of an

  order pursuant to sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003,

  and 3007, and Local Rule 3007-1, disallowing the No Liability Claims set forth on Exhibit A

  attached hereto; and upon consideration of the Wilen Declaration; and it appearing that the Court

  has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and due and adequate

  notice of the Objection having been given under the circumstances; and sufficient cause appearing

  therefor,




  1      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
         are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
         Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
         L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
         L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
         L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
         IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
         Street, 4th Floor, Philadelphia, Pennsylvania 19102.
  2      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.
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             IT IS HEREBY ORDERED THAT:

             1.          The Objection is sustained as set forth herein.

             2.          The No Liability Claims set forth on the attached Exhibit A under the heading

“Claim No.” are hereby disallowed in their entirety.

             3.          The Claims Agent is authorized and directed to modify the Claims Register for

these Chapter 11 Cases in accordance with the terms of this Order.

             4.          To the extent that a response is filed regarding any Disputed Claim listed in the

Objection and the Debtors are unable to resolve the response, each such Disputed Claim, and the

Objection by the Debtors to each such Disputed Claim, shall constitute a separate contested matter

as contemplated by Bankruptcy Rule 9014.

             5.          Any order entered by the Court regarding the Objection shall be deemed a separate

order with respect to each Disputed Claim.

             6.          This Order is without prejudice to the rights of the Debtors and any successor

entities to: (a) object to any Claims on grounds other than as stated in the Objection if any such

Claim is reconsidered; and (b) object, on any grounds permitted by law or equity, to any claim,

whether filed or not, in these cases.

             7.          The rights of the Debtors and any successor entities to use any available defenses

under section 502 of the Bankruptcy Code, including the assertion of a preference action to set off

against or otherwise reduce all or part of any Claim, are preserved.

             8.          Any stay of this Order pending appeal by any claimant shall only apply to the

contested matter that involves the claimant’s specific claim and shall not stay the applicability

and/or finality of this Order with respect to all other affected claims.




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             9.          To the extent that the Objection does not comply in all respects with the

requirements of Local Rule 3007-1, the requirements of Local Rule 3007-1 are waived.

             10.         The Court shall retain jurisdiction over all affected parties with respect to any

matters, claims or rights arising from or related to the implementation and interpretation of

this Order.




Dated: November 9th, 2023                                    MARY F. WALRATH
Wilmington, Delaware                                         UNITED STATES BANKRUPTCY JUDGE

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